 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 1 of 13 Page ID #:384




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10
     Attorneys for Plaintiff
11

12
                          UNITED STATES DISTRICT COURT
13
          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14
     JOHN C. EASTMAN,                      Case No.: 8:22-cv-00099-DOC-DFM
15
                          Plaintiff,       NOTICE OF PENDENCY OF OTHER
16 vs.                                     ACTIONS OR PROCEEDINGS
17   BENNIE G. THOMPSON, et al.            Date: January 24, 2022
18                        Defendants       Time: 2:00 p.m.
                                           Judge: Hon. David O. Carter
19
                                           Magistrate Judge: Hon. Douglas F.
20                                         McCormick
                                           Crtrm.: 9D
21
                                           Trial Date: not set
22

23         Pursuant to Local Rule 83-1.4, Plaintiff hereby provides notice that there are

24   a number of cases pending in other courts that involve “all or a material part of the
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 1
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 2 of 13 Page ID #:385




 1   subject matter” of the instant action, namely, challenges to various subpoenas
 2
     issued by the congressional defendants, including the following:
 3
     Lawsuits challenging subpoenas issued directly to individuals:
 4
           1. Mark Meadows v. Nancy Pelosi, Bennie G. Thompson, Elizabeth L.
 5            Cheney, Adam B. Schiff, Jamie B. Raskin, Susan E. Lofgren, Elaine G.
              Luria, Peter R. Aguilar, Stephanie Murphy, Adam D. Kinzinger, Select
 6
              Committee To Investigate The January 6th Attack On The United States
 7            Capitol, No. 1:21-cv-03217 (D.D.C., filed Dec. 8, 2021).

 8               a. Counsel for Plaintiff:
                    George J. Terwilliger III
 9
                    Brooks H. Spears
10                  McGuire Woods LLP
                    888 16th St. NW, Suite 500
11                  Washington, DC 20006
                    202-857-1700
12                  bspears@mcguirewoods.com
13
                 b. Counsel for Defendants:
14                  Douglas N. Letter, General Counsel
                    Office of General Counsel
15                  U.S. House of Representatives
                     5140 O’Neill House Office Building
16
                     Washington, D.C. 20515
17                   (202) 225-9700
                     Douglas.Letter@mail.house.gov
18
                 c. The suit raises challenges to the constitution of the Committee,
19
                    whether its subpoena to former Chief of Staff Meadows and a
20                  parallel subpoena to Meadows’ telecommunications carrier,
                    Verizon, were in furtherance of a valid legislative purpose,
21                  whether they violate the First and Fourth Amendments, and
                    whether they violate executive privilege.
22

23               d. Status: There have been no rulings yet issued from the district
                    court.
24
           2. Michael Flynn v. Nancy Pelosi, Bennie G. Thompson, Elizabeth L.
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 2
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 3 of 13 Page ID #:386




 1            Cheney, Adam B. Schiff, Jamie B. Raskin, Susan E. Lofgren, Elaine G.
              Luria, Peter R. Aguilar, Stephanie Murphy, Adam D. Kinzinger, Select
 2
              Committee To Investigate The January 6th Attack On The United States
 3            Capitol, No. 8:21-cv-02956 (M.D. Fla., filed Dec. 21, 2021).

 4               a. Counsel for Plaintiff:
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 5                  DHILLON LAW GROUP INC.
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 6
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 7                  571-400-2120
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 9
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10                  Office of General Counsel
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11                   5140 O’Neill House Office Building
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                     (202) 225-9700
13                   Douglas.Letter@mail.house.gov

14               c. The suit raises challenges to the constitution of the Committee,
                    whether its subpoena was in furtherance of a valid legislative
15
                    purpose, and whether it violates the First, Fourth, and Fifth
16                  Amendments.

17               d. Status: The district court denied without prejudice, on procedural
                    grounds, a TRO on December 22, 2021.
18
           3. Alex Emric Jones v. Select Committee To Investigate The January 6th
19
              Attack On The United States Capitol, Nancy Pelosi, Bennie G.
20            Thompson, Elizabeth L. Cheney, Adam B. Schiff, Jamie B. Raskin, Susan
              E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, Adam
21            D. Kinzinger, No. 1:21-cv-03316 (D.D.C., filed Dec. 20, 2021).
22
                 a. Counsel for Plaintiff:
23                  Norman A. Pattis
                    Cameron L. Atkinson
24                  PATTIS & SMITH, LLC
                    383 Orange Street
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 3
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 4 of 13 Page ID #:387




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 6
                    U.S. House of Representatives
 7                   5140 O’Neill House Office Building
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 8                   (202) 225-9700
 9                   Douglas.Letter@mail.house.gov

10               c. The suit raises challenges to the constitution of the Committee,
                    whether its subpoenas to Plaintiff and to his telecommunications
11                  carrier AT&T were in furtherance of a valid legislative purpose,
                    whether they violate the Stored Communications Act, and
12
                    whether they violate the First, Fourth, and Fifth Amendments.
13
                 d. Status: There have been no rulings yet issued from the district
14                  court.
15
     Lawsuits challenging subpoenas issued to third parties:
16
           1. Mark Meadows v. Pelosi et al., No. 1:21-cv-03217 (D.D.C., filed Dec.
17            8, 2021). See above ¶ 1.
18         2. Alex Emric Jones v. Select Committee et al., No. 1:21-cv-03316
              (D.D.C., filed Dec. 20, 2021). See above ¶ 3.
19

20         3. John C. Eastman v. Bennie G. Thompson, John Wood, Timothy J.
              Heaphy, Select Committee To Investigate The January 6th Attack On
21            The United States Capitol, Verizon Communicarions, Inc., No. 1:21-cv-
              03273 (D.D.C., filed Dec. 14, 2021).
22

23               a. Counsel for Plaintiff:
                    Charles Burnham
24                  BURNHAM & GOROKHOV PLLC
                    1424 K Street NW, Suite 500
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 4
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 5 of 13 Page ID #:388




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 6
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 7                   (202) 225-9700
                     Douglas.Letter@mail.house.gov
 8

 9                   General Counsel
                     ATTN: VSAT
10                   1 Verizon Way
                     Basking Ridge, New Jersey 07920
11                   Corporate Phone Number: 1-908-559-5490
12
                 c. The suit, by the same plaintiff here, raises challenges to the
13                  constitution of the Committee, whether its subpoena to Plaintiff’s
                    telecommunications carrier, Verizon, was in furtherance of a valid
14                  legislative purpose, whether it impermissibly sought information
                    protected by attorney-client and work product privileges, and
15
                    whether it violated the First and Fourth Amendments.
16
                 d. Status: There have been no substantive rulings yet issued from
17                  the district court.
18         4. Taylor Budowich and Conservative Strategies, Inc. v. Nancy Pelosi,
              Bennie G. Thompson, Elizabeth L. Cheney, Adam B. Schiff, Jamie B.
19
              Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie
20            Murphy, Adam D. Kinzinger, Select Committee To Investigate The
              January 6th Attack On The United States Capitol, J.P. Morgan Chase
21            Bank, N.A., No. 8:22-cv-00099 (D.D.C., filed Dec. 24, 2021).
22
                 a. Counsel for Plaintiff:
23                  CHRISTOPHER W. DEMPSEY
                    ABEL BEAN LAW, P.A.
24                  100 N Laura Street, Suite 501
                    Jacksonville, Florida 32202
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 5
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 6 of 13 Page ID #:389




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 3
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 5                  U.S. House of Representatives
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 7                   (202) 225-9700
                     Douglas.Letter@mail.house.gov
 8

 9                   Loretta Lynch, Esq.
                     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
10                   1285 Avenue of the Americas
                     New York, NY 10019-6064
11                   (212) 373-3000
12
                 c. The suit, which sought to have Congress return financial
13                  documents that had already been produced, raises challenges to
                    the constitution of the Committee, whether its subpoena for
14                  banking records was in furtherance of a valid legislative purpose,
                    whether it violates the Right to Financial Privacy Act, and
15
                    whether it violates the First Amendment.
16
                 d. Status: On January 20, 2022, the district court denied Plaintiffs’
17                  application for a TRO, finding, inter alia, that the Speech and
                    Debate Clause barred it from ordering Congress to return
18                  documents already in its possession and that the subpoena at issue
                    was for a legislative purpose. It denied the government
19
                    defendants’ motion to dismiss, however; further proceedings are
20                  ongoing.

21         5. In re Subpoena of AT&T by authority of the House of Representatives of
              the Congress of the United States of America (Motion of Cleta Mitchell
22
              to Quash Subpoena issued to AT&T), No. 1:21-mc-00157 (D.D.C., filed
23            Dec. 15, 2021)
                  a. Counsel for Plaintiff:
24                   John P. Rowley III
                     JPROWLEYLAW PLLC
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 6
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 7 of 13 Page ID #:390




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 2
                     202-525-6674
 3                   John.rowley@jprowleylaw.com

 4               b. Counsel for Defendants:
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 5                  House Select Committee to Investigate the January
                    6th Attack on the United States Capitol
 6
                    Longworth House Office Building
 7                  Washington, D.C. 20515
                    Phone: 202-226-3023
 8                  Email: Sean.Tonolli @ mail.house.gov
 9
                 c. The suit asserts that the subpoena violates the First and Fourth
10                  Amendments and the Stored Communications Act.

11               d. Status: There have been no substantive rulings yet issued from
                    the district court.
12
           6. Ali Alexander v. Nancy Pelosi, Bennie G. Thompson, Elizabeth L.
13
              Cheney, Adam B. Schiff, Jamie B. Raskin, Susan E. Lofgren, Elaine G.
14            Luria, Peter R. Aguilar, Stephanie Murphy, Adam D. Kinzinger, Select
              Committee To Investigate The January 6th Attack On The United States
15            Capitol, Verizon Communicarions, Inc., Cellco Partnership d/b/a/
              Verizon Wireless, No. 8:21-cv-3308 (D.D.C., filed Dec. 27, 2021).
16

17               a. Counsel for Plaintiff:
                    Jonathan A. Mosely
18                  5765-F Burke Centre Parkway, PMB #337
                    Burke, Virginia 22015
19                  Telephone: (703) 656-1230
                    Facsimile: (703) 997-0937
20
                    Contact@JonMoseley.com
21
                 b. Counsel for Defendants:
22                  No appearances have yet been entered
23
                 c. The suit raises challenges to the constitution of the Committee,
24                  whether its subpoena for banking records was in furtherance of a
                    valid legislative purpose, whether it violates the Stored
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 7
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 8 of 13 Page ID #:391




 1                   Communications Act, and whether it violates the First and Fourth
                     Amendments.
 2

 3               d. Status: There have been no substantive rulings yet issued from
                    the district court.
 4
           7. Justin Caporale, Tim Unes, Megan Powers and Maggie Mulvaney v.
 5            Cellco Partnership d/b/a/ Verizon Wireless, No. 3:21-cv-20484 (D.NJ,
              filed Dec. 13, 2021).
 6

 7               a. Counsel for Plaintiff:
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 8                  KING MOENCH HIRNIAK MEHTA & COLLINS, LLP
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 9
                    Morris Plains, New Jersey 07950
10                  973-998-6860
                    973-998-6863 (facsimile)
11                  MCM@kmhmlawfirm.com
12               b. Counsel for Defendants:
                    Michael Holden
13
                    Verizon
14                  One Verizon Way
                    Basking Ridge, NJ 07920
15                  Michael.Holland@Verizon.com
                    (908) 559-7439
16

17               c. The suit raises challenges to the constitution of the Committee,
                    whether its subpoena for telecommunications records was
18                  pertinent and in furtherance of a valid legislative purpose,
                    whether it violates the Stored Communications Act, and whether
19                  it violates the First and Fourth Amendments.
20
                 d. Status: There have been no substantive rulings yet issued from
21                  the district court.

22         8. Connie Meggs and Kelly Meggs v. Nancy Pelosi, Bennie G. Thompson,
              Elizabeth L. Cheney, Adam B. Schiff, Jamie B. Raskin, Susan E.
23
              Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, Adam D.
24            Kinzinger, Select Committee To Investigate The January 6th Attack On
              The United States Capitol, John Wood, Timothy J. Heaphy, Verizon
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 8
 Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 9 of 13 Page ID #:392




 1            Communicarions, Inc., No. 1:22-cv-00005 (D.D.C., filed Jan. 3, 2022).
 2
                 a. Counsel for Plaintiff:
 3                  Juli Z. Haller, DC 466921
                    The Law Offices of Julia Haller
 4                  601 Pennsylvania Avenue, N.W.
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 5                  Washington, DC 20004
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 7
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 9
                     Telephone: (703) 656-1230
10                   Facsimile: (703) 997-0937
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11
                 b. Counsel for Defendants:
12                  Douglas N. Letter, General Counsel
                    Office of General Counsel
13
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14                   5140 O’Neill House Office Building
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15                   (202) 225-9700
16                   Douglas.Letter@mail.house.gov

17                   General Counsel
                     ATTN: VSAT
18                   1 Verizon Way
                     Basking Ridge, New Jersey 07920
19
                     Corporate Phone Number: 1-908-559-5490
20
                 c. The suit raises challenges to the constitution of the Committee,
21                  whether its subpoena for telecommunications records was in
                    furtherance of a valid legislative purpose, whether it violates the
22
                    Stored Communications Act, whether it seeks documents
23                  protected by spousal privilege, and whether it violates the First,
                    Fourth, and Sixth Amendments.
24
                 d. Status: There have been no substantive rulings yet issued from
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 9
Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 10 of 13 Page ID #:393




 1                   the district court.
 2
           9. Amy Harris v. Select Committee To Investigate The January 6th Attack
 3            On The United States Capitol and Bennie G. Thompson, No. 1:21-cv-
              03290 (D.D.C., filed Dec. 15, 2021).
 4
                 a. Counsel for Plaintiff:
 5                  Robert Corn-Revere
                    John D. Seiver
 6
                    Courtney T. DeThomas
 7                  DAVIS WRIGHT TREMAINE LLP
                    1301 K Street NW, Suite 500 East
 8                  Washington D.C. 20005
                    202-973-4200
 9
                    bobcornrevere@dwt.com
10                  johnseiver@dwt.com
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11
                 b. Counsel for Defendants:
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                    Office of General Counsel
13
                    U.S. House of Representatives
14                   5140 O’Neill House Office Building
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15                   (202) 225-9700
16                   Douglas.Letter@mail.house.gov

17               c. The suit raises challenges to the subpoena issued to a reporter’s
                    telecommunications company on the grounds that it violates the
18                  First, Fourth, and Fifth Amendments, reporters’ privilege, and the
                    D.C. Free Flow of Information Act.
19

20               d. Status: There have been no substantive rulings yet issued from
                    the district court.
21
           10. Sebastion Gorka v. Bennie G. Thompson, John Wood, Timothy J.
22
              Heaphy, Select Committee To Investigate The January 6th Attack On
23            The United States Capitol, Verizon Communicarions, Inc., No. 1: 22-cv-
              00017 (D.D.C., filed Jan. 4, 2022).
24
                 a. Counsel for Plaintiff:
25

26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 10
Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 11 of 13 Page ID #:394




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                     General Counsel
11                   ATTN: VSAT
                     1 Verizon Way
12
                     Basking Ridge, New Jersey 07920
13                   Corporate Phone Number: 1-908-559-5490

14               c. The suit raises challenges to the constitution of the Committee,
                    whether its subpoena to Plaintiff’s telecommunications carrier,
15
                    Verizon, was in furtherance of a valid legislative purpose,
16                  whether it violated the Telecommunications Act and Privacy
                    Laws, and whether it violated the First and Fourth Amendments.
17
                 d. Status: There have been no substantive rulings yet issued from
18                  the district court.
19
                                           Respectfully submitted,
20
                                           /s/Anthony T. Caso
21                                         Anthony T. Caso (Cal. Bar #88561)
                                           CONSTITUTIONAL COUNSEL GROUP
22                                         174 W Lincoln Ave # 620
                                           Anaheim, CA 92805-2901
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                                           Fax: 916-307-5164
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26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 11
Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 12 of 13 Page ID #:395




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 5
                                           Counsel for Plaintiff
 6

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26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 12
Case 8:22-cv-00099-DOC-DFM Document 38 Filed 01/24/22 Page 13 of 13 Page ID #:396




 1
                              CERTIFICATE OF SERVICE
 2
           I have served this filing on all counsel through the Court’s ecf system.
 3
                                           Respectfully submitted,
 4
                                           /s/Charles Burnham
 5
                                           Charles Burnham (D.C. Bar # 1003464)
 6                                         BURNHAM & GOROKHOV PLLC
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 7                                         Washington, D.C. 20005
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26   PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS - 13
